Case 8:21-bk-11710-ES       Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04             Desc
                             Main Document Page 1 of 12


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                                                           Central District of California
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 6
   Attorneys for Movant and Creditor,
 7 HOUSER BROS. CO. dba RANCHO DEL
   REY MOBILE HOME ESTATES
 8
                             UNITED STATES BANKRUPTCY COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
     In re                                    Case No. 8:21-bk-11710-ES
11
     JAMIE LYNN GALLIAN,                      Chapter 7
12
                     Debtor.                  ORDER GRANTING HOUSER BROS. CO.
13                                            DBA RANCHO DEL REY MOBILE HOME
                                              ESTATES’S MOTION OBJECTING TO
14                                            DEBTOR’S CLAIMED HOMESTEAD
                                              EXEMPTION IN 16222 MONTEREY LANE,
15                                            SPACE #376, HUNTINGTON BEACH, CA
                                              92649, DOCKET NO. 95
16

17                                                     HEARING DATE
                                                       Date: July 21, 2022
18                                                     Time: 10:30 a.m.
                                                       Ctrm: 5A
19                                                     Location: 411 W. Fourth Street, Santa Ana, CA
                                                       92701
20

21

22         On May 12, 2022, Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
23 (“Houser Bros.”) filed a “Motion Objecting to Debtor’s Claimed Homestead Exemption”

24 (“Motion”). Docket No. 95. The Motion was set for hearing on June 2, 2022, at 10:30 a.m.

25 Docket No. 99.

26         On May 13, 2022, The Huntington Beach Gables Homeowners Association (“HOA”)
27 filed a “Joinder to Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates’ Motion

28 Objecting to Debtor’s Claimed Homestead Exemption” (“HOA Joinder”). Docket No. 98.


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Case 8:21-bk-11710-ES         Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04                 Desc
                               Main Document Page 2 of 12



 1         On May 16, 2022, Janine Jasso (“Ms. Jasso,” and together with the HOA, the “Joining
 2 Parties”) filed a “Joinder to Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates’

 3 Motion Objecting to Debtor’s Claimed Homestead Exemption” (“Jasso Joinder”). Docket No.

 4 100.

 5         On June 1, 2022, Jamie Lynn Gallian (“Debtor”) filed “Debtors Reply Opposition,
 6 Memorandum of Points and Authorities to Houser Bros. Co. dba Rancho Del Rey Mobile Home

 7 Estates’ Motion Objecting to Debtor’s Claimed Homestead Exemption and Joinder Parties

 8 Huntington Beach Gables HOA; Janine Jasso” (“Opposition”). Docket No. 105.

 9         On June 2, 2022, at 10:30 a.m., the Court conducted a hearing on the Motion. All
10 appearances were as noted on the record. Before the hearing, the Court published a tentative

11 ruling to continue the hearing on the Motion to July 21, 2022, at 10:30 a.m. to allow Houser

12 Bros. and the Joining Parties to file a reply to Debtor’s late Opposition. The Court’s tentative

13 ruling cautioned that “[n]o other pleadings may be filed,” and that “in the future, the court will

14 not consider any pleadings filed by Debtor after the day they are due.”

15         On June 23, 2022, the Court entered an “Order Continuing Hearing on Motion Objecting
16 to Debtor’s Claimed Homestead Exemption” (“June 23, 2022, Order”), which attached a copy

17 of the Court’s tentative ruling for the June 2, 2022, hearing. Docket No. 124. The June 23, 2022,

18 Order, provided as follows:

19         1)      The hearing on the Motion is continued to July 21, 2022, at 10:30 a.m. to allow
20                 Houser Bros. and/or the Joining Parties to file a reply/replies to Debtor’s late
21                 opposition filed on June 1, 2022;
22         2)      Any replies by Houser Bros. or the Joining Parties must be filed by July 7, 2022;
23                 and
24         3)      No other pleadings may be filed regarding the Motion. Docket No. 124.
25         On June 30, 2022, Chapter 7 Trustee Jeffrey I. Golden filed “Trustee’s Joinder in Houser
26 Bros. Co. dba Rancho Del Rey Mobile Home Estates’ Motion Objecting to Debtor’s Claimed
27 Homestead Exemption” (“Trustee Joinder”). Docket No. 128.

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Case 8:21-bk-11710-ES            Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04                Desc
                                  Main Document Page 3 of 12



 1             On July 7, 2022, the HOA filed a “Reply to Debtor’s Opposition to Motion Objecting to
 2 Debtor’s Claimed Homestead Exemption” (“HOA Reply”). Docket No. 129.

 3             That same day, Houser Bros. filed:
 4             1)     “Reply to Debtor’s Opposition to Motion Objecting to Claimed Homestead
 5                    Exemption” (“Houser Bros. Reply”), Docket No. 130;
 6             2)     “Declaration of Vivienne J. Alston Re: Motion Objecting to Debtor’s Claimed
 7                    Homestead Exemption” (“Alston Declaration”), Docket No. 131;
 8             3)     “Declaration of Greg Buysman Re: Motion Objecting to Debtor’s Claimed
 9                    Homestead Exemption” (“Buysman Declaration”), Docket No. 132; and
10             4)     “Declaration of Chris Houser Re: Motion Objecting to Debtor’s Claimed
11                    Homestead Exemption” (“Houser Declaration”), Docket No. 133.
12             On July 8, 2022, Debtor filed an unauthorized “Reply to Greg Buysman, CA Notary
13 Public Commission Number 2341449; Owner & Operator the UPS Store, Edinger/Springdale.”

14 Docket No. 134.1

15             Before the July 21, 2022, hearing, the Court published a tentative ruling to grant the
16 Motion. A true and correct copy of the Court’s tentative ruling for the July 21, 2022, hearing is

17 attached as Exhibit 1.

18             On July 21, 2022, at 10:30 a.m., the Court held a continued hearing on the Motion.
19 Appearances were as noted on the record. During the hearing, all parties were given an
20 opportunity to be heard. The Court, having read and considered the Motion, the HOA Joinder,

21 the Jasso Joinder, the Opposition, the Trustee Joinder, the HOA Reply, the Houser Bros. Reply,

22 the Alston Declaration, the Buysman Declaration, and the Houser Declaration, and all other

23 pleadings and papers filed in this case, and having heard the arguments made on the record

24 during the July 21, 2022, hearing, for the set forth in the motion and reply papers, the attached

25 tentative ruling, and on the record during the hearing, the Court enters its order as follows:

26
     1
         The Court did not formally consider this pleading because Debtor filed it in violation of the June
27       23, 2022, Order’s requirement that no other pleadings were to be filed other than replies by Houser
28       Bros. and the Joining Parties. Even if the Court were to consider this improper pleading, the
         evidence presented therein would have been insufficient to alter or change the Court’s ruling.

                                                          3
Case 8:21-bk-11710-ES       Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04             Desc
                             Main Document Page 4 of 12



 1         IT IS ORDERED that the Motion is granted and Houser Bros.’s objection in the Motion
 2 to Debtor’s claimed homestead exemption in 16222 Monterey Lane, Space #376, Huntington

 3 Beach, CA 92649 pursuant to § 704.730 of the California Code of Civil Procedure is sustained.

 4 Any claim of exemption by Debtor in the Property is disallowed.

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23   Date: August 5, 2022

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Case 8:21-bk-11710-ES   Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04   Desc
                         Main Document Page 5 of 12




                                                            EXHIBIT 1
      Case 8:21-bk-11710-ES         Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04          Desc
                                     Main Document Page 6 of 12

                            United States Bankruptcy Court
                             Central District of California
                                          Santa Ana
                                    Erithe Smith, Presiding
                                    Courtroom 5A Calendar

Thursday, July 21, 2022                                                    Hearing Room        5A

10:30 AM
8:21-11710    Jamie Lynn Gallian                                                         Chapter 7

   #32.00     CON'TD Hearing RE: Creditor Houser Bros. Co. dba Rancho Del Rey Mobile
              Home Estates Motion Objecting to Debtor's Claimed Homestead Exemption

              FR: 6-2-22

                                 Docket       95

  Courtroom Deputy:
      - NONE LISTED -

  Tentative Ruling:

      June 2, 2022

      Continue hearing to July 21, 2022 at 10:30 a.m. to allow Movant/Joining
      Parties to file a reply to Debtor's late opposition filed on June 1, 2022, which
      reply(ies) must be filed by July 7, 2022. No other pleadings may be filed.

      Basis for Tentative Ruling:

      1. Because Debtor filed her opposition one day prior to the hearing, the court
      has not had an opportunity to review it and the Movant was not afforded the
      opportunity to file a reply to the opposition. Under the Local Bankruptcy
      Rules, the court may exclude late-filed pleadings and not consider them at all.
      On this one occassion, the court will make an exception and allow the
      opposition. However, in the future, the court will not consider any pleadings
      filed by Debtor after the day they are due.

      2. Based solely on the timely filed Motion and joinders, the court would be
      inclined to grant the Motion.
      --------------------------------------------------------------------------------

      July 21, 2022

      Grant the Motion objecting to Debtor's homestead exemption claim.

7/22/2022 5:46:01 PM                       Page 58 of 77


                                                                           EXHIBIT 1, PAGE 5
      Case 8:21-bk-11710-ES         Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04         Desc
                                     Main Document Page 7 of 12

                           United States Bankruptcy Court
                            Central District of California
                                          Santa Ana
                                    Erithe Smith, Presiding
                                    Courtroom 5A Calendar

Thursday, July 21, 2022                                                 Hearing Room          5A

10:30 AM
CONT...       Jamie Lynn Gallian                                                        Chapter 7


      Preliminary Comments re the Tentative Ruling:

      This hearing was continued from June 2, 2022 solely because Debtor filed a
      late opposition one day prior to the hearing on June 1, 2022. The
      continuance was to allow the Movant and Joining Parties to file a reply to the
      June 1 opposition by July 7, 2022. The court expressly ruled that no other
      pleadings were to be filed. Notwithstanding that ruling, Debtor filed an
      additional pleading on July 8, 2022 [dkt. 134] without obtaining leave from
      the court (with notice to the Movant and Joining Parties) to do so.
      Accordingly, the pleading will not be formally considered by the court. The
      court notes parenthetically that even if it were to consider the improper
      pleading, the evidence presented therein would be insufficient to alter or
      change the court's ruling.

      Basis for Tentative Ruling:

              A. The Motion is Timely

              The court must first determine whether the objection was timely. In re
      Smith, 235 F.3d 472, 475 (9th Cir. 2000) (stating that before reaching the
      merits of debtor’s purported exemption, the court must determine whether the
      Creditors' objections were timely). An objection to an exemption must be filed
      within 30 days after the conclusion of a debtor’s meeting of creditors or the
      filing of any exemption amendment. Fed. R. Bankr. P. 4003(b)(1). Here, the
      Motion was timely filed on May 12, 2022, as the Debtor’s meeting of creditors
      concluded on May 3, 2022.

              B. Movant has provided evidence sufficient to grant the Motion

              At the time a petition for bankruptcy is filed, "all legal or equitable
      interests of the debtor in property" become available to satisfy creditors’
      claims and costs of the proceedings unless the assets are ‘"exempted’ from
      use in satisfying claims of creditors and other authorized charges." In re
      Sewell, 180 F.3d 707, 710 (5th Cir. 1999); FRBP § 541(a)(1). The applicable
      state law determines bankruptcy exemptions on the date of the filing of the

7/22/2022 5:46:01 PM                       Page 59 of 77


                                                                         EXHIBIT 1, PAGE 6
      Case 8:21-bk-11710-ES        Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04       Desc
                                    Main Document Page 8 of 12

                             United States Bankruptcy Court
                              Central District of California
                                          Santa Ana
                                    Erithe Smith, Presiding
                                    Courtroom 5A Calendar

Thursday, July 21, 2022                                                  Hearing Room      5A

10:30 AM
CONT...       Jamie Lynn Gallian                                                     Chapter 7
      original bankruptcy petition. In re Bassin, 637 F.2d 668, 670 (9th Cir. 1980).
      California has, per FRBP § 522(b)(1), has "opted out" of the federal
      exemption scheme and therefore California debtors may claim only those
      exemptions allowable under California law.

                       1. Houser Bros has standing to bring the Motion

              FRBP 4003(b) provides that a party in interest may filed an objection to
      the list of property claimed by debtor as exempt. Fed. R. Bankr. P. 4003(b).
      Here, Houser Bros is certainly a party in interest. First, Houser Bros is a
      creditor. In her Amended Schedules [dkt. 75], Debtor listed Houser Bros. as a
      creditor, with a contingent, unliquidated, disputed claim against the Property
      of unknown amount. Second, On January 2, 2019, Houser Bros. filed a
      "Complaint for Forcible Entry/Detainer (Mobilehome Park)" ("OCSC
      Complaint") against Debtor in Orange County Superior Court, Case No.
      30-2019-01041423-CL-UD-CJC ("OCSC Action"). Hays Declaration, Ex. 3.
      Debtor’s claimed homestead exemption, if allowed, will bind Houser Bros.
      Reply, 7.

                       2. There is no applicable recorded homestead

             Generally, claimed exemptions are "presumptively valid" and the
      objecting party thus bears the burden of proving that the exemption is
      improper. In re Carter, 182 F.3d 1027, 1029 n. 3 (9th Cir.1999); FRBP §
      4003(c). However, the Supreme Court in Raleigh v. Illinois Dept of Revenue,
      530 US 15, 20-21 (2000) held that because burden of proof is substantive, in
      the absence of a federal interest requiring a different result, the state law
      allocation of the burden should apply in bankruptcy objection to claims. The
      Ninth Circuit Bankruptcy Appellate Panel concluded that, where a state law
      exemption statute specifically allocates the burden of proof to the debtor,
      FRBP § 4003(c) does not change that allocation. In re Diaz, 547 B.R. 329,
      337 (B.A.P. 9th Cir. 2016). In re Diaz is persuasive given the U.S. Supreme
      Court's holding in Raleigh. California has placed the ultimate burden of proof
      on the party claiming the exemption. CCP §§ 703.580(b), 704.780(a).
      Although the burden of proof lies with the party claiming the exemption,
      exemption statutes are generally construed in favor of the debtor. Kono v.
      Meeker K, 196 Cal. App. 4th 81, 86 (2011).

7/22/2022 5:46:01 PM                       Page 60 of 77


                                                                         EXHIBIT 1, PAGE 7
      Case 8:21-bk-11710-ES          Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04       Desc
                                      Main Document Page 9 of 12

                               United States Bankruptcy Court
                                Central District of California
                                            Santa Ana
                                      Erithe Smith, Presiding
                                      Courtroom 5A Calendar

Thursday, July 21, 2022                                                     Hearing Room     5A

10:30 AM
CONT...       Jamie Lynn Gallian                                                       Chapter 7

             Pursuant to Cal. Civ. Proc. Code § 704.780(a), the burden to show a
      debtor's entitlement to a homestead exemption rests with the debtor, unless a
      declared homestead has been recorded. Cal. Civ. Proc. Code § 704.780(a).
      The objecting party need only provide evidence sufficient to meet the
      "preponderance of the evidence" standard. In re Kelley, 300 B.R. 11, 16 (9th
      Cir. B.A.P. 2003). If the objecting party produces evidence to rebut the
      claimed exemption, the burden of production then shifts to the debtor to
      demonstrate the exemption is proper. Fed. R. Evid. R. 301. The debtor's
      standard of proof is also "preponderance of the evidence." United States ex
      rel. Farmers Home Admin. v. Arnold & Baker Farms, 177 B.R. 648, 654 (9th
      Cir. BAP 1994).

              Here, Debtor bears the burden of proof to show entitlement to the
      homestead exemption because the Orange County Treasurer-Tax Collector
      records do not indicate that there is a "current homeowner’s exemption or
      disabled veteran’s exemption" for the Property. A copy of the 2021-22 tax bill
      for the Property is attached to the Hays Declaration as Exhibit 24.

              Although Debtor claims to have recorded a Homestead Declaration,
      she did so with the Orange County Clerk-Recorder, not the Orange County
      Treasurer-Tax Collector. Declared homesteads are not applicable to sales by
      a bankruptcy trustee. See In re Sain, 584 B.R. 325, 329 (Bankr. S.D. Cal.
      2018) (indicating that only the automatic homestead was available to a debtor
      who held a recorded declaration of homestead, because the debtor had not
      elected a declared homestead exemption in his schedules, and declared
      homesteads are not applicable to sales by bankruptcy trustees); see also See
      Kelley v. Locke (In re Kelley), 300 B.R. 11, 21 (B.A.P. 9th Cir. 2003) (noting
      that in the bankruptcy context, a debtor’s declaration of homestead "helps him
      not at all, as the additional benefits conferred in Article 5 [Sections
      704.910-704.995] would benefit him only in the situation of a voluntary sale").
      Therefore, Debtor bears the burden of proof for the homestead exemption.

                       3.    Debtor failed to meet her burden that the Property is
                            subject to exemption

              In In re Shaefers, the Ninth Circuit BAP found that a Chapter 7 debtor

7/22/2022 5:46:01 PM                         Page 61 of 77


                                                                            EXHIBIT 1, PAGE 8
      Case 8:21-bk-11710-ES      Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04         Desc
                                  Main Document Page 10 of 12

                           United States Bankruptcy Court
                            Central District of California
                                       Santa Ana
                                 Erithe Smith, Presiding
                                 Courtroom 5A Calendar

Thursday, July 21, 2022                                                Hearing Room        5A

10:30 AM
CONT...       Jamie Lynn Gallian                                                     Chapter 7
      cannot claim homestead exemption in limited liability company (LLC) that he
      owned, which owned real property at which debtor resided; debtor did not
      identify any beneficial or equitable interest in the property, and LLC members
      such as debtor had no interest in the company's assets, rather, debtor's
      interest in LLC was a personal property interest outside the statutory
      definition of a homestead. 623 B.R. 777 (B.A.P. 9th Cir. 2020).

             Here, Debtor has failed to meet her burden that the Property is subject
      to exemption. First, the HCD records show that J-Sandcastle LLC, not Debtor,
      was the Property’s owner of record on the Petition Date. As of June 7, 2021—
      about a month before the Petition Date—the Property’s registered owner was
      J-Sandcastle LLC, and the legal owners were Pierpont and J-Pad LLC. Hays
      Decl., Ex. 17 at 142. The HCD webpage indicates that "documents and fees"
      must be submitted to the HCD to transfer ownership of a manufactured home
      or manufactured home. The June 7, 2021, Title Search did not note any
      pending applications for title or registration change that might have added
      Debtor as the registered or legal owner of the Property before the Petition
      Date. And, Debtor paid no fees to the HCD between June 7, 2021, and the
      Petition Date that could have effectuated a title change. See Hays Decl., Ex.
      26.

              Moreover, the July 2021 HCD Transaction had a transaction date of
      July 14, 2021—five days after the Petition Date—and included a certificate of
      title showing J-Sandcastle LLC as the Property’s registered owner and
      Pierpont and J-Pad LLC as the Property’s legal owners. Hays Decl., Ex. 21 at
      171. Included in this post-petition transaction was a document to add Debtor
      as the Property’s "New Registered Owner." Id. at 172. Also attached was a
      County of Orange "Tax Clearance Certificate" issued and executed on the
      Petition Date, which gave the Property’s "Current Registered Owner" as J-
      Sandcastle LLC. Id. at 191. The August 2021 HCD Transaction did include a
      certificate of title showing Debtor as the Property’s registered owner, but
      according to the certificate, title was issued on August 3, 2021, nearly a
      month after the Petition Date. Hays Decl., Ex. 22 at 195.

            Second, between February 1, 2021, and the Petition Date, all
      payments that Debtor submitted to Houser Bros. listed J-Sandcastle LLC as
      the payor/were on behalf of J-Sandcastle LLC. Only after the Petition Date

7/22/2022 5:46:01 PM                     Page 62 of 77


                                                                       EXHIBIT 1, PAGE 9
      Case 8:21-bk-11710-ES      Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04          Desc
                                  Main Document Page 11 of 12

                           United States Bankruptcy Court
                            Central District of California
                                        Santa Ana
                                  Erithe Smith, Presiding
                                  Courtroom 5A Calendar

Thursday, July 21, 2022                                                  Hearing Room       5A

10:30 AM
CONT...     Jamie Lynn Gallian                                                        Chapter 7
      did Debtor submit a payment on her own behalf. See Hays Decl. Ex. 23 at
      203-222.

              Third, Debtor provides no credible evidence that she acquired an
      interest from the LLC on February 25, 2021. In Debtor’s Original Schedules,
      filed on the Petition Date (July 9, 2021), Debtor provided, under penalty of
      perjury, that "Registered Title with HCD Debtor’s single member LLC, J-
      Sandcastle Co, LLC." Motion at 33 (Exhibit 2). In addition, Debtor, in the
      Opposition, asserts J-Sandcastle LLC’s executed a notarized release of title
      document, claiming: "On the petition date July 9, 2021, the registered title
      owner of the manufactured home located at 16222 Monterey Lane, Unit #376,
      Huntington Beach, CA 92649 (‘Property’) was Jamie Lynn Gallian as of
      February 25, 2021, the date J-Sandcastle Co LLC signed and dated to
      release the Certificate of Title to Jamie Lynn Gallian, notarized the same
      date." Opp’n., 29. However, Mr. Buysman did not actually notarize these
      documents. Instead, Mr. Buysman’s notary book shows that on February 25,
      2021, he notarized for Debtor an "Affidavit of Death" and a "Transfer Grant
      Deed." Buysman Decl., ¶7-11. Mr. Buysman did not notarize the July 2021
      HCD Submission either. Id. Debtor's improperly filed July 8 response, even if
      considered by the court, would be insufficient to counter the statements and
      documentary evidence set forth in the Buysman Declaration.

             Fourth, any alleged unrecorded transfer of title to Debtor personally
      was ineffective. See In re Farokhirad, Case No. 8:21-bk-10026-MW, ECF No.
      98 (Bankr. C.D. Cal. Apr. 29, 2021) (sustaining a trustee’s objection to an
      individual debtor’s claimed homestead exemption in property held by a wholly
      owned LLC, and indicating that a provision of the LLC agreement purporting
      to transfer an interest in the property to the debtor prepetition was ineffective
      because an unrecorded deed could not bind the trustee). In California,
      unperfected (i.e. unrecorded) liens against real property are unenforceable
      against a bona fide purchaser for value, and Trustee is "clothed with the
      status of a hypothetical bona fide purchaser of real property under Section
      544(a)(3). In re Tleel, 79 B.R. 883, 887 (B.A.P. 9th Cir. 1987); Cal.Civ.Code
      §§ 1214, 1217. Section 544, however, must be applied "without regard to any
      knowledge of the trustee or of any creditor." 11 U.S.C. § 544(a). Therefore,
      actual notice cannot overcome the Trustee's bona fide purchaser status. In re
      Tleel, 876 F.2d 769, 772 (9th Cir. 1989). Pursuant to Section 544, the trustee

7/22/2022 5:46:01 PM                      Page 63 of 77


                                                                        EXHIBIT 1, PAGE 10
      Case 8:21-bk-11710-ES         Doc 177 Filed 08/05/22 Entered 08/05/22 12:28:04      Desc
                                     Main Document Page 12 of 12

                               United States Bankruptcy Court
                                Central District of California
                                          Santa Ana
                                    Erithe Smith, Presiding
                                    Courtroom 5A Calendar

Thursday, July 21, 2022                                                Hearing Room        5A

10:30 AM
CONT...       Jamie Lynn Gallian                                                     Chapter 7
      is treated as a lien creditor and/or bona fide purchaser as of the date of the
      commencement of the case. In re Tleel, 79 B.R. 883, 886 (B.A.P. 9th Cir.
      1987).

            While Debtor asserts the Property was actually transferred from J-
      Sandcastle LLC to Debtor on February 25, 2021, the transfer was not
      recorded until after the Petition Date. Hays Decl., Ex. 19 at 145. As such,
      Trustee would be treated as a bona fide purchaser as of the Petition Date.

              In conclusion, Debtor failed to carry her burden because, on the
      Petition Date, the Property’s registered owner was J-Sandcastle LLC, and the
      legal owners were Pierpont and J-Pad, LLC. As a result, the Property was not
      part of the estate and not eligible for an exemption. The court, therefore,
      need not address Movant's alternative argument re 11 U.S.C. 522(p) except
      to say that had Debtor provided sufficient evidence of a transfer on February
      25, 2021, the limitations of 522(p) would have applied.

                                     Party Information
  Debtor(s):
       Jamie Lynn Gallian                        Pro Se
  Trustee(s):
       Jeffrey I Golden (TR)                     Represented By
                                                   Aaron E DE Leest
                                                   Eric P Israel




7/22/2022 5:46:01 PM                       Page 64 of 77


                                                                      EXHIBIT 1, PAGE 11
